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                                   7                                 UNITED STATES DISTRICT COURT

                                   8                                NORTHERN DISTRICT OF CALIFORNIA

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                                         FRANCESCO CORALLO,
                                  10                                                      Case No. 22-cv-05229-RS
                                                       Plaintiff,
                                  11
                                                 v.                                       ORDER GRANTING LEAVE TO
                                  12                                                      SERVE BY INTERNATIONAL
Northern District of California
 United States District Court




                                         NSO GROUP TECHNOLOGIES                           COURIER
                                  13     LIMITED, et al.,
                                  14                   Defendants.

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                                  16          Good cause appearing, plaintiff’s motion for leave to effect service of process on

                                  17   defendants NSO GROUP TECHNOLOGIES LIMITED and Q CYBER TECHNOLOGIES

                                  18   LIMITED by Federal Express or other international courier is granted. The hearing set for

                                  19   November 17, 2022 is vacated.

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                                  21   IT IS SO ORDERED.

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                                  23   Dated: November 10, 2022

                                  24                                                  ______________________________________
                                                                                      RICHARD SEEBORG
                                  25                                                  Chief United States District Judge
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